         Case 1:18-md-02865-LAK-RWL Document 655 Filed 08/05/21 Page 1 of 1

Hughes                                                                              Hughes Hubbard & Reed LLP
                                                                                             One Battery Park Plaza

Hubbard                                                                             New York, New York 10004-1482
                                                                                      Telephone: +1 (212) 837-6000

&Reed                                                                                        Fax: +1 (212) 422-4726
                                                                                                hugheshubbard.com

                                                                                                    Marc A. Weinstein
                                                                                                               Partner
                                                                                       Direct Dial: +1 (212) 837-6460
                                                                                       Direct Fax: +1 (212) 299-6460
                                                                                 marc.weinstein@hugheshubbard.com



   BY ECF

   Honorable Lewis A. Kaplan                                  August 5, 2021
   United States District Judge
   Southern District of New York
   500 Pearl Street
   New York, NY 10007
   KaplanNYSDChambers@nysd.uscourts.gov

              Re:       In re Customs and Tax Administration of the Kingdom of Denmark
                        (Skatteforvaltningen) Tax Refund Scheme Litigation, 18-md-2865 (LAK)

   Dear Judge Kaplan:

          We write on behalf of plaintiff Skatteforvaltningen to update the Court on the status of
   foreign proceedings referenced in the parties’ July 21, 2021 Joint Status Report on Foreign
   Actions (ECF No. 650) and July 29, 2021 Joint Report on the Status and Proposed Schedule for
   the Completion of Discovery (ECF No. 651). On August 5, 2021, the Dubai International
   Financial Centre Court rejected the application of Elysium Global (Dubai) Limited and Elysium
   Properties Limited to prevent SKAT or other parties from using the documents obtained from
   Elysium in litigation in various jurisdictions around the globe, including the United States. A
   copy of the decision is attached as Exhibit A. In addition, the two pending administrative
   appeals to the Danish High Court referenced in the July 21, 2021 Status Report have now been
   withdrawn by the respective pension plans. To the extent the defendants’ proposal to stay expert
   discovery was based on the pendency of either the DIFC application or the two Danish
   administrative appeals, those grounds no longer exist.

                                               Respectfully submitted,


                                               /s/ Marc A. Weinstein
                                                   Marc A. Weinstein




   cc:    All counsel of record (via ECF)
